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                          UNITED STATES DISTRICT COURT
                           DISTRICT OF MASSACHUSETTS



                                                                      Criminal Action
                                                                      No: 07-10049-WGY

                                    UNITED STATES
                                        Plaintiff

                                            v.

                                QUOC BINH PHAM VO
                                     Defendant



                                         ORDER

YOUNG, D.J.

      For the reasons stated on the record at the hearing held 4/7/10, this Court rules the
Motion to Vacate the Judgment of 2/27/09 is denied.

                                                               By the Court,


                                                               /s/ Elizabeth Smith
                                                               Deputy Clerk




April 8, 2010

To: All Counsel
